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UNITED st
IN THE UNITED STATES DISTRICT COURT ATES Dist: tome
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EW MEXICG —
FOR THE DISTRICT OF NEW MEXICO JA
N10 2019
UNITED STATES OF AMERICA, )
) 4
Plaintiff, ) criminatno. 14-77
)
VS. ) Counts 1 and 2: 18 U.S.C. § 875(c):
) Interstate Communications Containing a
MICHAEL JAMES NISSEN, ) Threat to Injure the Person of Another.
)
Defendant. )
INDICTMENT
The Grand Jury charges:
Count 1

On or about November 2, 2018, in Torrance County, in the District of New Mexico, the
defendant, MICHAEL JAMES NISSEN, transmitted in interstate and foreign commerce
communications containing a threat to injure the person of another.

In violation of 18 U.S.C. § 875(c).

Count 2

On or about November 26, 2018, in Bernalillo County, in the District of New Mexico, the
defendant, MICHAEL JAMES NISSEN, transmitted in interstate and foreign commerce
communications containing a threat to injure the person of another.

In violation of 18 U.S.C. § 875(c).
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A TRUE BILL:

/s/
FOREPERSON OF THE GRAND JURY

      

Assi

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